     Case 22-17758-SLM           Doc 17 Filed 12/09/22 Entered 12/09/22 05:40:17                      Desc Cert.
                                  of Fin. management Cert. Page 1 of 1
Form finmgtc

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 22−17758−SLM
                                         Chapter: 13
                                         Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Maruja F Carrascoso
   9−10 5th Street
   Fair Lawn, NJ 07410
Social Security No.:
   xxx−xx−2238
Employer's Tax I.D. No.:




               NOTICE OF FAILURE TO FILE DEBTOR'S CERTIFICATION OF COMPLETION
                OF INSTRUCTIONAL COURSE CONCERNING FINANCIAL MANAGEMENT




To receive a discharge each individual debtor must participate in a personal financial management course. The
course provider may file a Certificate of Debtor Education, or the debtor must file a Debtor's Certification of
Completion of Instructional Course Concerning Financial Management (Official Form B23) proving compliance
with the financial management course requirement for discharge (each debtor in a joint case must file a separate
Certification). The Certification must be filed by:

       Chapter 13: [No Later than the date you make the last payment under your plan.]

To date the court has not received the above document from the debtor(s), nor has it received a Certificate of Debtor
Education from a course provider. If the court does not receive the document(s) within the time frame set forth
above, your case will be closed without entry of the discharge. If the case is closed without entry of the discharge
you must file a Motion To Reopen to allow for the filing of the document(s) and pay the applicable filing fee.




Dated: December 9, 2022
JAN: admi

                                                                        Jeanne Naughton
                                                                        Clerk
